           Case 1:23-cv-00256-JLC Document 34 Filed 07/02/24 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X                07/02/2024
                                                               :
TIMOTHY MORAN, et ano.,                                        :
                                                               :   ORDER OF DISMISSAL
                           Plaintiffs,                         :
                                                               :   23-CV-00256 (JLC)
         -v-                                                   :
                                                               :
AECOM TISHMAN CONSTRUCTION                                     :
CORPORATION, et al.,                                           :
                                                               :
                           Defendants.                         :
---------------------------------------------------------------X

JAMES L. COTT, United States Magistrate Judge.

         The Court having been advised by the final report of the mediator dated July

1, 2024 (Dkt. No. 33) that all claims asserted herein have been settled, it is hereby

ORDERED that the above-entitled action be and is hereby dismissed and

discontinued without costs, but without prejudice to the right to reopen the action

within 30 days of the date of this Order if the settlement is not consummated.

         To be clear, any application to reopen must be filed within 30 days of the date

of this Order; any application to reopen filed thereafter may be denied solely on that

basis. Further, if the parties wish for the Court to retain jurisdiction for the

purposes of enforcing any settlement agreement, they must submit the settlement

agreement to the Court within the same 30-day period to be “so ordered” by the

Court.

         Any pending motions are moot. The Clerk is directed to close this case.




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       Case 1:23-cv-00256-JLC Document 34 Filed 07/02/24 Page 2 of 2




     SO ORDERED.

Dated: July 2, 2024
       New York, New York




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